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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Swarovski Aktiengesellschaft and                §
 Swarovski North America Limited,                §
                                                 §
                 Plaintiffs,                     §
                                                 §
                                                 §
 v.                                              §    CIVIL ACTION NO. 1:20-cv-01690
                                                 §
                                                 §    JURY TRIAL DEMANDED
 Anngill Official Store, et al.,                 §
                                                 §
                 Defendants.                     §
                                                 §


                                    NOTICE OF DISMISSAL

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs dismiss this action

with prejudice as to the following Defendants:

                 Defendant’s Name                                Line of Schedule A
  Movan                                                                    2
  SS of the Small Grocery Store                                           44
  Dariopeta                                                               45
  Chinese Shenzhen Gaode Trading Co                                       12
  FactoryStore2016                                                        29
  Brandtomsunglasses                                                      55

These Defendants have neither served an answer or a motion for summary judgment.




NOTICE OF DISMISSAL                                                                               1
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 Dated: July 10, 2020                      /s/Sankalp Kandaswamy
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                                           SWAROVSKI NORTH AMERICA LIMITED




NOTICE OF DISMISSAL                                                                2
